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 1                                                         October 7, 2021

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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12   ED HULL, an individual,                   Case No.: 2:21-cv-05055-SB-AFM
13               Plaintiff,                    Hon. Stanley Blumenfeld, Jr.
14       v.
15                                             ORDER FOR DISMISSAL WITH
     REALTY INCOME PROPERTIES 16,              PREJUDICE
     LLC, a California limited liability
16   company; and Does 1-10,
17                                             Action Filed: June 22, 2021
                 Defendants.                   Trial Date: Not on Calendar
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                               ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:21-cv-05055-SB-AFM Document 16 Filed 10/07/21 Page 2 of 2 Page ID #:71



 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:
 4         Plaintiff Ed Hull’s action against Defendant Realty Income Properties 16, LLC is
 5   dismissed with prejudice. Each party will be responsible for its own fees and costs.
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     Dated: October 7, 2021
11                                                       Hon. Stanley Blumenfeld, Jr
                                                         United States District Judge
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                              ORDER FOR DISMISSAL WITH PREJUDICE
